
MONTIEL, Judge.
Kenneth Wilson filed a Rule 32, A.R.Cr.P., petition with the Jefferson Circuit Court alleging that he was denied the effective assistance of counsel. Following a hearing, the circuit court denied the petition. However, the circuit court failed to make specific findings of fact as required by Rule 32.9(d), A.R.Crim.P. Saffold v. State, 563 So.2d 1074 (Ala.Crim.App.1990). Thus, this cause must be remanded to the circuit court.
The circuit court is ordered to file written findings of fact with this court within 60 days of this opinion.
REMANDED WITH INSTRUCTIONS. 
All the Judges concur.
